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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON TALCUM
POWDER PRODUCTS MARKETING,
SALES PRACTICES,

AND PRODUCTS LIABILITY
LITIGATION

MDL No. 16-2738 (FLW) (LHG)
JUDGE FREDA L. WOLFSON
MAG. JUDGE LOIS H. GOODMAN

“THIS DOCUMENT RELATES TO:
REBECCA HALL
Plaintiff,
Vv.
JOHNSON & JOHNSON, et al.,

Defendants.

Civil Action No.: 3:16-cv-09596

ORDER

THIS MATTER, having come before the Court on Plaintiff Rebecca Hall’s

Voluntary Dismissal without Prejudice solely against Valeant Pharmaceuticals

International, Inc. and Valeant Pharmaceuticals North America, and this Court deemed

fully advised of the premises:

IT IS HEREBY ORDERD that Plaintiff Rebecca Hall’s Motion for Voluntary

Dismissal without Prejudice solely against Valeant Pharmaceuticals International, Inc.

and Valeant Pharmaceuticals North America is GRANTED, each party to bear their

own attorneys fees and costs.

Signed, this___ 4 f day of

Manch

, 2017,

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Honorable Freda L. Wolfson
United States District Court Judge

